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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 DYNAENERGETICS EUROPE GMBH                        )    Civil Action
 and DYNAENERGETICS US, INC.,                      )
                                                   )    No. 6:21-cv-00349-ADA
                Plaintiffs,                        )
                                                   )    Judge Alan D. Albright
        v.                                         )
                                                   )
 HORIZONTAL WIRELINE SERVICES,                     )    Electronically Filed
 LLC and ALLIED WIRELINE SERVICES,                 )
 LLC,                                              )
                                                   )
                Defendants.                        )

                   DEFENDANTS’ OPPOSED MOTION TO STAY
             PENDING RESOLUTION OF PATENT OWNERSHIP DISPUTE

       Plaintiffs, DynaEnergetics Europe GmbH and DynaEnergetics US, Inc. (collectively,

“DynaEnergetics”), allege that Defendants, Horizontal Wireline Services, LLC and Allied

Wireline Services, LLC (collectively, “Defendants”), infringe U.S. Patent No. 10,844,697 (“the

’697 patent”). On August 26, 2021, third-party SWM International, LLC (“SWM”) filed an action

in the U.S. District Court for the District of Colorado seeking a declaratory judgment that it is the

co-owner of the ’697 Patent (the “SWM Action”). See Ex. A (SWM International, LLC v.

DynaEnergetics Europe GmbH, et al., No. 1:21-cv-2315, Dkt. No. 1 (D. Colo. Aug. 26, 2021)).

       SWM alleges that DynaEnergetics used misrepresentations and other improper means to

induce David C. Parks, one of the inventors of the ’697 Patent, to assign his company’s rights in

the invention to DynaEnergetics. Ex. A at ¶¶ 28–39. SWM further alleges that upon learning of

DynaEnergetics’ misrepresentations and subsequent enforcement activities against SWM and

others, Mr. Parks executed a new assignment transferring JDP’s rights in the ’697 Patent to SWM.
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Ex. A at ¶ 40. SWM seeks a declaration that the original assignment to DynaEnergetics is void

and voidable and that SWM is a co-owner of the ’697 Patent.

       If the patent ownership issue is resolved in SWM’s favor, DynaEnergetics would not have

standing to continue prosecuting its claims in this suit, requiring dismissal of its claims against

Defendants. Defendants recently learned of the potential ownership dispute, which issue has been

raised in an earlier motion filed in this Court by G&H Diversified Manufacturing, LP (“G&H”),

who is also defending against a claim by DynaEnergetics regarding the same patent. See

DynaEnergetics Europe GmbH, et al. v. G&H Diversified Manufacturing, LP, No. 6:20-cv-01110

(W.D. Tex.).

       Defendants have considered the arguments made by SWM in the Colorado suit and by

G&H in this Court, and agree with the reasoning set forth in G&H’s motion, attached as Ex. B

(DynaEnergetics Europe GmbH, et al. v. G&H Diversified Manufacturing, LP, No. 6:20-cv-

01110, Dkt. No. 48 (W.D. Tex. Oct. 7, 2021)). Defendants are aware that other defendants have

filed substantively similar motions in their cases before this Court. See Ex. C (DynaEnergetics

Europe GmbH, et al. v. NexTier Completion Solutions, Inc., No. 6:20-cv-01201, Dkt. No. 53 (W.D.

Tex. Oct. 7, 2021)); Ex. D (DynaEnergetics Europe GmbH, et al. v. GR Energy Services Operating

GP LLC, et al., No. 6:21-cv-00085, Dkt. No. 37 (W.D. Tex. Oct. 13, 2021). Defendants join in

these requests that this Court stay the related DynaEnergetics’ cases pending resolution of the

fundamental ownership issue.

       A stay of claims asserting the ’697 Patent is appropriate to allow resolution of the

ownership issue while preventing a waste of judicial resources and the substantial expenditure of

time and money by the parties on a lawsuit that may be mooted if SWM prevails on its motion.

As more particularly described in G&H’s motion (Ex. B), the issue before this Court is whether a




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stay pending resolution of the SWM Action (which may be dispositive of this litigation) would

simplify the issues related to the ’697 Patent and reduce the burden of litigation on the parties and

this Court without unfair prejudice to DynaEnergetics.

       Defendants incorporate by reference the arguments and authorities cited by G&H in

support of a stay. Ex. B. In summary, good cause exists to grant these motions to stay because

DynaEnergetics’ right to bring suit on the asserted patent has been challenged. See Optimal Golf

Solutions, Inc. v. Altex Corp., No. 3:09-CV-1403-K, 2009 WL 10733424, at *1 (N.D. Tex. Sept.

30, 2009); Gen-Probe, Inc. v. Amoco Corp., Inc., 926 F. Supp. 948, 963-64 (S.D. Cal. 1996). If a

stay is not granted, and the Colorado court later determines that DynaEnergetics does not to have

the legal right to prosecute claims related to the ’697 Patent, the time and financial resources spent

by the parties and this Court in litigating this suit will have been expended needlessly.

       Importantly, the requested stay will not unduly prejudice DynaEnergetics. A “‘mere’ delay

does not, without more, necessitate a finding of undue prejudice and clear tactical disadvantage.”

Nussbaum v. Diversified Consultants, Inc., No. 15-600, 2015 WL 5707147, at *2 (D.N.J. Sept. 28,

2015) (citing, Akishev v. Kapustin, 23 F. Supp. 3d 440, 447 (D.N.J. 2014)). “Courts often find the

stage of litigation weighs in favor of a stay if there remains a significant amount of work ahead for

the parties and the court.” Norman IP Holdings, LLC v. TP-Link Techs., Co., No. 6:13-cv-384-

JDL, 2014 WL 5035718, at *3 (E.D. Tex. Oct. 8, 2014). There has been minimal case activity, as

this case is in its early stages. Claim construction briefs have not yet been filed. Fact discovery

does not open until January. A reasonably short delay to allow for resolution of this fundamental

issue before the parties and this Court move forward will not unduly prejudice DynaEnergetics,

but will instead streamline the related cases and avoid unnecessary costs and efforts on behalf of

the parties (and this Court). See Rmail Ltd. v. Amazon, Inc., No. 2:10-CV-258, 2014 WL 11394910,




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at *6 (E.D. Tex. Jan. 30, 2014) (allowing time for litigation of state law ownership issues where

the case remained at an early stage).

       For the reasons stated herein, and as elaborated in G&H’s motion (Ex. B), Defendants seek

a stay of this case pending resolution of the issue of ownership of the ’697 Patent.

                                                     Respectfully submitted,

                                                     THE WEBB LAW FIRM


Dated: October 19, 2021                              s/ Bryan P. Clark
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of October, 2021, I electronically filed the foregoing

DEFENDANTS’ OPPOSED MOTION TO STAY PENDING RESOLUTION OF PATENT

OWNERSHIP DISPUTE with the Clerk of Court using the CM/ECF system which sent

notification to all counsel of record.



                                                    THE WEBB LAW FIRM


                                                    s/ Bryan P. Clark
                                                    Bryan P. Clark




                              CERTIFICATE OF CONFERENCE

       I hereby certify that on October 19, 2021, counsel for Defendants conferred with counsel

for DynaEnergetics by email wherein counsel for DynaEnergetics stated that they oppose the relief

sought in the present Motion.



                                                    THE WEBB LAW FIRM


                                                    s/ Bryan P. Clark
                                                    Bryan P. Clark
